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                  IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )             CR 13-00653-SOM-11
                              )
          Plaintiff(s),       )
                              )             ORDER REQUESTING INFORMATION
     vs.                      )
                              )
DONALD SEALS,                 )
                              )
          Defendant(s).       )
_____________________________ )

                         ORDER REQUESTING INFORMATION

            Before the court rules on the merits of Donald Seals’s

compassionate release motion, the court would like information

about any release plan Mr. Seals may have.             The court therefore

asks counsel for Mr. Seals to provide the following information

no later than 4:30 p.m. on Monday, June 29, 2020.               Counsel is

free to obtain the information from Mr. Seals or his wife, or

from any other person, but counsel should tell the court the

source of any information provided.           Responses to the following

questions may or may not affect this court’s ruling on the

compassionate release motion.

      1.    Is the relationship between Donald Seals and Dina

            Seals, nee Banks, intact?         Does Dina Seals support Mr.

            Seals’s compassionate release motion, and is she

            willing to cooperate with federal probation (for

            example, by allowing unannounced home inspections)?

      2.    If this court grants Mr. Seals’s compassionate release

            motion, will Mrs. Seals self-quarantine for 14 days
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            following his return to her home and follow all

            applicable orders related to the pandemic issued by the

            State of California and by local authorities?

      3.    Does Mrs. Seals have any health conditions that might

            affect her ability to assist Mr. Seals with his medical

            needs?   Is she herself at greater risk of complications

            if exposed to COVID-19?          The court notes that, right

            before Mr. Seals was sentenced, Mrs. Seals was

            reportedly diagnosed with breast cancer.               Does the

            residence allow for Mr. Seals to isolate himself from

            others if that is appropriate or advisable?

      4.    Is Mrs. Seals able and willing to support Mr. Seals

            financially?    What will their financial circumstances

            be?   To the extent allowed by the pandemic and any

            supervised release conditions this court might impose,

            does Mr. Seals intend to seek employment, as suggested

            by his motion?

      5.    Who else lives with Mrs. Seals in Oakland, California?

      6.    Does anyone in the household have any criminal

            background and/or pending criminal matters?

      7.    Are there any firearms in the residence?               If so, if Mr.

            Seals is released early, can they be removed before his

            release?

      8.    Given the existing special conditions of supervised


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            release, are Mrs. Seals and any other persons living in

            the residence agreeing that there will be no alcohol on

            the property?    Do Mrs. Seals and other residents

            understand that the residence may be subject to

            searches by the probation office?

      9.    Will Mrs. Seals or another family member pick Mr. Seals

            up from Lompoc if he is released early?               Will providing

            such transportation be permitted under applicable

            orders issued by the State of California and local

            authorities?    If Mr. Seals is released early, will Mrs.

            Seals or other family members assist Mr. Seals with

            transportation to medical appointments, counseling/drug

            testing, meetings with probation etc.

      10.   If the court orders Mr. Seals released early and

            imposes a special condition of home confinement with

            location monitoring, will Mrs. Seals provide Mr. Seals

            with a smartphone or install a land line telephone?

            Can Mrs. Seals help with the cost of location

            monitoring?

            The court stresses that it is not here issuing any

decision on the merits of the compassionate release motion.                   The

court is hoping that the requested information will allow it to

make an informed decision.




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             IT IS SO ORDERED.

             DATED: Honolulu, Hawaii, June 24, 2020.



                                         /s/ Susan Oki Mollway
                                        Susan Oki Mollway
                                        Senior United States District Judge




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